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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
NICHOLAS GOMEZ, EDWIN MERCADO,                )
OMAR NAZARIO, OSMAR                           )
RODGRIGUEZ, and MIKE CASTREJON                )
        Plaintiffs,                           )
                                              )   No: 12 CV 04804
        v.                                    )
                                              )
CHICAGO POLICE OFFICERS                       )   Honorable Judge Bucklo
K. KRUGER (Star no. 17501), SGT. GRASSI       )
(Star no. 1509), SGT. SCHACHELMAYER           )   Magistrate Judge Gilbert
(Star no. 1934), CORONA (Star no. 3331)       )
G. FREAR (Star no. 16852), M. MANNOT          )
(Star no. 15691), R. TROTTER (Star no. 11076) )
M. CHERNIK (Star no. 3491) J. RODRIGUEZ       )
(Star no. 12170), DELANY (Star no. 4024),     )
J. CERDA (Star no. 10607), J. ZAMBRANO        )
(Star no. 5475), and the CITY OF CHICAGO,     )
        Defendants.                           )   JURY DEMANDED
                             THIRD AMENDED COMPLAINT
        NOW COME the Plaintiffs, OMAR NAZARIO and MIKE CASTREJON, by and

through their attorneys, Abby D. Bakos, Brendan Shiller, and Stephen Barrios of the Shiller

Preyar Law Offices, and Plaintiffs EDWIN MERCADO, NICHOLAS GOMEZ and OSMAR

RODRIGUEZ, by and through their attorneys, Melinda Power and Sandeep Basran of West

Town Community Law Office, complaining of the Defendants and in support thereof state as

follows:

                                       INTRODUCTION

1. This action is brought pursuant to 42 U.S.C. § 1983 to address deprivations of Plaintiffs’

   rights under the Constitution of the United States.

                                       JURISDICTION




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2. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C. §§ 1983

   and 1985; the judicial code 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United

   States; and pendent jurisdiction as provided under U.S.C. § 1367(a).

                                             VENUE

3. Venue is proper under 28 U.S.C. Section 1391 (b). The events described herein all occurred

   in the Northern District of Illinois.

                                        THE PARTIES
4. Omar Nazario has resided at all relevant times in the State of Illinois, County of Cook.

5. Mike Castrejon has resided at all relevant times in the State of Illinois, County of Cook.

6. Osmar Rodriguez has resided at all relevant times in the State of Illinois, County of Cook.

7. Edwin Mercado has resided at all relevant times in the State of Illinois, County of Cook.

8. Nicholas Gomez has resided at all relevant times in the State of Illinois, County of Cook.

9. Defendant Police Officers K. KRUGER (Star no. 17501), SGT. GRASSI (Star no. 1509),

   SGT. SACHELMAYER (Star no. 1934), CORONA (Star no. 3331) G. FREAR (Star no.

   16852), M. MANNOT (Star no. 15691), R. TROTTER (Star no. 11076) M. CHERNIK (Star

   no. 3491) J. RODRIGUEZ (Star no. 12170), DELANY (Star no. 4024), J. CERDA (Star no.

   10607), , and J. ZAMBRANO (Star no. 5475), (referred to herein as “Defendant Officers”)

   are present or former employees of the City of Chicago Police Department. They engaged in

   the conduct complained of while on duty and in the course and scope of their employment

   and under color of law. They are sued in their individual capacities.

10. Defendant City of Chicago is a municipal corporation duly incorporated under the laws of the

   State of Illinois, and is the employer and principal of the Defendant Officers. At all times

   relevant hereto, all Defendant Officers were acting under the color of law and within the

   scope of their employment with Defendant City of Chicago.

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                                          BACKGROUND

11. On the evening of June 16, 2011, Plaintiffs Nazario, Gomez and Rodriguez were working at

   Luquillo’s Barbershop, located at 2552 W. Division Street, Chicago, Illinois.

12. At approximately 8PM, a gang member began flashing gang signs at passing motorists on the

   sidewalk in front of the barbershop.

13. At one point that evening, Plaintiff Osmar Rodriguez stepped outside onto the sidewalk and

   asked individuals believed to be gang members to move away from the front of the

   barbershop.

14. At one point, Plaintiff Nazario joined his co-worker(s) outside to assist them in getting the

   gang member away from the barbershop.

15. At one point Plaintiff Nicholas Gomez exited the barbershop as well.

16. A barbershop employee called the police to assist Plaintiffs in getting the individuals

   believed to be gang members away from the barbershop.

17. Shortly thereafter, Defendant Officers arrived on scene and the gang members fled the area.

18. Plaintiff Mercado was standing in the entrance to or directly in front of the barbershop when

   Chicago Police Officers arrived.

19. Despite the fact that the individuals believed to be gang members were leaving or gone as the

   initial Chicago Police Officers arrived, more Chicago Police Officers continued to arrive on-

   scene.

20. Plaintiff Castrejon approached the barbershop as the officers flooded the area.

21. As the officers continued to arrive on-scene, Plaintiff Castrejon began documenting the

   events with his cell phone’s video recorder.




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22. Officer Kruger then told Plaintiff Castrejon to “stop fucking recording,” hit Plaintiff

   Castrejon’s phone out of his hand, and then pushed Plaintiff Castrejon into the nearby

   window.

23. Without provocation or justification, Defendant Kruger and several other Defendant Officers

   proceeded to strike Plaintiff Castrejon about his body.

24. At that point, Defendant Corona grabbed and choked Plaintiff Rodriguez and threw him to

   the ground face first.

25. Defendant Corona and two other Defendant Officers pinned Plaintiff Rodriguez while he was

   on the ground.

26. Defendants Corona and Delaney then placed Plaintiff Rodriguez under arrest.

27. Defendant Schachelmeyer grabbed Plaintiff Gomez by the wrist and pushed Plaintiff

   Gomez’s arm behind his back and then forced Plaintiff Gomez up against the exterior wall of

   the building.

28. Defendant Schachelmeyer pushed Plaintiff Gomez’s face into the building.

29. Defendant Schachelmeyer battered Plaintiff Gomez and ordered that Plaintiff Gomez be

   arrested.

30. Without probable cause or any other justification, Defendant Officers Frear, Chernik, Grassi,

   Trotter, Mannot, and other Defendant Officers began pulling Mr. Nazario to the ground,

   while simultaneously beating Mr. Nazario about his head and body.

31. While Plaintiff Nazario was on his knees, Defendant Officers struck Plaintiff Nazario with a

   baton several times.

32. Defendant Jose Rodriguez then tased Plaintiff Nazario twice.




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33. Plaintiff Nazario was then dragged a few feet by one or more officers, kneed in the head, and

   struck again with a baton.

34. Defendants Schachelmeyer and Frear went into the barbershop where Plaintiff Mercado

   stood and Defendant Schachelmeyer physically grabbed Plaintiff Mercado, verbally insulted

   him and forced Plaintiff Mercado out of the barbershop.

35. Defendants Schachelmeyer and Frear then arrested Plaintiff Mercado.

36. All of the other named defendants were present during the use of excessive force against

   Plaintiffs.

37. Defendants Kruger, Grassi, Frear, Chernik, Trotter, Mannot, Rodriguez conspired to

   maliciously prosecute Plaintiffs Nazario and Castrejon.

38. Plaintiffs never battered any police officers, resisted arrest or engaged in mob action at any

   time on June 16, 2011.

39. Plaintiff Gomez, Mercado and Rodriguez were charged with resisting/obstructing a peace

   officer (and Plaintiff Rodriguez was additionally charged with two counts of

   resisting/obstructing a peace officer) and mob action.

40. All charges against Plaintiffs Gomez, Mercado and Rodriguez were dismissed in a manner

   indicative of innocence.

41. Plaintiff Castrejon was arrested and charged with one count of eavesdropping, one count of

   resisting/obstructing, mob action and one count of aggravated battery to a peace officer.

42. Plaintiff Nazario was arrested and charged with five counts of resisting/obstructing a peace

   officer, one count of aggravated battery to a police officer and one count of mob action.

43. Following a jury trial, Plaintiffs Nazario and Castrejon were found not guilty of aggravated

   battery to a peace officer.



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44. Plaintiff Nazario and Castrejon’s other criminal charges were dismissed prior to trial in a

   manner indicative of their innocence.

                                              CLAIM I
                                42 U.S.C. § 1983 – Excessive Force
                     For Plaintiffs Nazario, Castrejon, Rodriguez and Gomez
  Against Defendants Kruger, Grassi, Frear, Chernik, Trotter, Mannot, Schachelmayer,
                                      Corona and Rodriguez
45. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

46. Defendant Officers inflicted violence upon Plaintiffs that was excessive, unnecessary,

   unreasonable and grossly disproportionate to the need for action under the circumstances.

47. When inflicting violence upon Plaintiffs, Defendant Officers were acting “under color of

   state law.”

48. As a result of excessive force inflicted by Defendant Officers, Plaintiffs sustained physical

   injuries as well as emotional damages and suffering.

   WHEREFORE, Plaintiffs demand judgment against the Defendant Officers, jointly and

severally, for compensatory damages, punitive damages, costs and attorney’s fees, medical

expenses, and such other and additional relief that this Court deems equitable and just.

                                              CLAIM II
                              42 U.S.C. § 1983 – Failure to Intervene
                               For Plaintiffs Nazario and Castrejon
    Against Defendants Kruger, Grassi, Frear, Chernik, Trotter, Mannot and Rodriguez
49. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

50. Defendant Officers had a reasonable opportunity to prevent the false arrest against Plaintiffs

   and prevent their injuries, but failed to do so.

51. As a result of the Defendant Officers’ failure to intervene, Plaintiffs suffered damages

   including, but not limited to attorneys fees, and loss of liberty.




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   WHEREFORE, Plaintiffs demand judgment against the Defendant Officers, jointly and

severally, for compensatory damages, punitive damages, costs and attorney’s fees, medical

expenses, and such other and additional relief that this Court deems equitable and just.

                                             CLAIM III
                        42 U.S.C. § 1983 – Unlawful Seizure/ False Arrest
For All Plaintiffs Against Defendants Kruger, Grassi, Frear, Chernik, Trotter, Mannot and
              Rodriguez, Schachelmayer, Zambrano, Cerda, Corona and Delaney
52. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

53. Under 42 U.S.C. § 1983, a person who, acting under color of state law, deprives another

   person of his federal constitutional rights is liable to the injured party.

54. The actions of the Defendant Officers described above, whereby they knowingly seized

   Plaintiffs without probable cause or any other justification, constituted a deliberate

   indifference to their rights under the U.S. Constitution, violating the Fourth and Fourteenth

   Amendments to the United States Constitution.

55. As a result of the illegal seizures, Plaintiffs were injured, including loss of liberty, emotional

   damages, trauma, humiliation, mental distress, and anguish.

   WHEREFORE, Plaintiffs demand judgment against the Defendant Officers, jointly and

severally, for compensatory damages, punitive damages, costs and attorney’s fees, medical

expenses, and such other and additional relief that this court deems equitable and just.

                                               CLAIM IV
                              42 U.S.C. § 1983- Illegal Pretrial Detention
        For Plaintiffs Nazario and Castrejon Against Defendants Kruger, Grassi, Frear,
                            Chernik, Trotter, Mannot and Rodriguez
56. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

57. Plaintiffs were detained at the Cook County Jail following their bond hearing for several

   hours without probable cause that they had committed any crimes.




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   58. Plaintiffs’ respective detentions were due to Defendant Officers’ fabricated evidence in their

       police reports and criminal complaints.

   59. As a result of this misconduct, Plaintiffs were injured, including a loss of liberty, conditions

       of bond, physical and emotional damages, legal fees, trauma, mental distress, and severe

       emotional damages.

       WHEREFORE, Plaintiffs demand judgment against Defendant Officers for compensatory

damages, punitive damages, costs, reasonable attorneys’ fees and such other and additional relief

that this Court deems equitable and just.

                                                 CLAIM V
                                          State Claim – Assault
       For Plaintiffs Nazario, Castrejon, Gomez and Rodriguez Against Defendant City of
                                                  Chicago
   60. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

   61. Acting under color of law, the Defendant Officers Kruger, Grassi, Frear, Chernik, Trotter,

       Mannot, Rodriguez, Corona, and Schachelmeyer denied Plaintiffs’ rights by assaulting them.

   62. Plaintiffs believed that they were in danger of being battered by the Defendant Officers.

   63. Plaintiffs’ belief of an imminent battery was reasonable.

   64. Any reasonable person would also have become apprehensive in the face of the Defendant

       Officers’ threatening conduct.

   65. The Defendant Officers’ conduct that resulted in this assault was undertaken with malice,

       willfulness, and reckless indifference to Plaintiffs’ rights.

   66. The misconduct undertaken by Defendant Officers was within the scope of their employment

       such that their employer, the City of Chicago is liable for those actions.




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   WHEREFORE, Plaintiffs demand judgment against Defendant City of Chicago for

compensatory damages, punitive damages, costs and attorney’s fees, medical expenses, and such

other and additional relief that this Court deems equitable and just.

                                             CLAIM VI
                                       State Claim – Battery
                     For Plaintiffs Nazario, Castrejon, Gomez and Rodriguez
                                Against Defendant City of Chicago
67. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

68. Without the consent of Plaintiffs, Defendant Officers Kruger, Grassi, Frear, Chernik, Trotter,

   Mannot, Rodriguez, Corona and Schachelmeyer intentionally, harmfully, and offensively

   touched Plaintiffs by using excessive force on them.

69. The Defendant Officers’ conduct that caused this battery was undertaken with malice,

   willfulness, and reckless indifference to Plaintiffs’ rights.

70. The misconduct undertaken by Defendant Officers was within the scope of their employment

   such that their employer, the City of Chicago is liable for those actions.

   WHEREFORE, Plaintiffs demand judgment against the Defendant City of Chicago for

compensatory damages, punitive damages, costs and attorney’s fees, medical expenses, and such

other and additional relief that this Court deems equitable and just.

                                             CLAIM VII
  State Claim – Malicious Prosecution for Resisting/Obstructing a Peace Officer and Mob
 Action For All Plaintiffs and Aggravated Battery to a Peace Officer for Plaintiffs Nazario
                                           and Castrejon
                                Against Defendant City of Chicago
71. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

72. Defendants Delaney, Cerda, Kruger, Grassi, Frear, Chernik, Trotter, Mannot, Rodriguez,

   Corona and Schachelmayer maliciously caused criminal charges for Resisting/Obstructing a

   Peace Officer to be commenced and continued against all Plaintiffs by creating false and




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   incomplete police reports, swearing to false criminal charges, and, in the cases of Plaintiffs

   Nazario and Castrejon, falsely testifying in court against them..

73. There was no probable cause for the institution of criminal charges against Plaintiffs for

   resisting/obstructing a peace officer.

74. The criminal charges against Plaintiffs for resisting/obstructing a peace officer were disposed

   of in a manner indicative of their innocence, in that the state’s attorney dismissed those charges.

75. Defendants Delaney, Cerda, Kruger, Grassi, Frear, Chernik, Trotter, Mannot, Schachelmayer

   and Corona maliciously caused criminal charges for mob action to be commenced and

   continued against all Plaintiffs by creating false and incomplete police reports, swearing to

   false criminal charges, and falsely testifying in court against him.

76. There was no probable cause for the institution of criminal charges for mob action against

   Plaintiffs.

77. The criminal charges for mob action against Plaintiffs were disposed of in a manner

   indicative of their innocence, in that the state’s attorney dismissed those charges.

78. Defendant Grassi and Kruger maliciously caused criminal charges for aggravated battery to a

   peace officer to be commenced and continued against Plaintiffs Nazario and Castrejon

   respectively, by creating false and incomplete police reports, swearing to false criminal

   charges, and falsely testifying in court against him.

79. There was no probable cause for the institution of criminal charges for aggravated battery

   to a peace officer against Plaintiffs Nazario and Castrejon.

80. The criminal charges against Plaintiffs Nazario and Castrejon were disposed of in a

   manner indicative of his innocence, in that a jury of their peers found them not guilty.




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81. Defendants’ actions caused the Plaintiffs injuries, including emotional and physical damages,

   legal fees, trauma, humiliation, loss of liberty, mental distress, and anguish.

82. Defendants’ conduct was willful and wanton.

83. The misconduct carried out by Defendant Officers was within the scope of their employment

   such that their employer, the City of Chicago, is liable for those actions.

   WHEREFORE, Plaintiffs demand judgment against Defendant City of Chicago for

compensatory damages, punitive damages, costs, medical expenses, and such other and

additional relief that this Court deems equitable and just.

                                            CLAIM VIII
                               Indemnity Claim - 745 ILCS 10/9-102
                                   Against the City of Chicago
84. Plaintiffs re-allege and incorporate all previous paragraphs.

85. Defendant City of Chicago is the employer of Defendant Officers.

86. Defendant Officers committed the acts alleged above under color of law and in the scope

   of their employment as employees of the City of Chicago.

87. In Illinois, public entities are directed to pay for any tort judgment for compensatory

   damages for which employees are liable within the scope of their employment activities. 745

   ILCS 10/9-102.

88. As a proximate cause of Defendant Officers’ unlawful acts, which occurred within the

       scope of their employment activities, Plaintiffs were injured.

   WHEREFORE, should any Defendant Officer be found liable on one or more of the claims

set forth above, Plaintiffs demand, pursuant to 745 ILCS 10/9-102, that Defendant City of

Chicago be found liable for any compensatory judgment Plaintiffs obtain against said

Defendants, as well as attorneys’ fees and costs awarded, medical expenses, and such other and

additional relief that this Court deems equitable and just.

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                                           CLAIM IX
                               Conspiracy to Commit State Tort
                              For Plaintiffs Nazario and Castrejon
                               Against Defendant City of Chicago

89. Plaintiff re-alleges and reincorporates all previous paragraphs.

90. Defendants Kruger, Grassi, Frear, Chernik, Trotter, Mannot and Rodriguez reached an

    agreement amongst themselves to maliciously prosecute Plaintiffs.

91. The Defendant Officers, acting in concert, conspired by concerted action to accomplish

    an unlawful purpose by an unlawful means.

92. In furtherance of the conspiracy, each of the co-conspirators committed overt acts and

    was an otherwise willful participant in joint activity.

93. The misconduct described in this Count was undertaken with malice, willfulness, and

    reckless indifference to the rights of others.

94. The misconduct undertaken by Defendant Officers was within the scope of their

    employment such that their employer, the City of Chicago is liable for those actions.

    WHEREFORE, Plaintiffs demand judgment against Defendant City of Chicago and for

actual and compensatory damages in an amount deemed at time of trial to be just fair, and

appropriate.

                                              PLAINTIFFS DEMAND TRIAL BY JURY.
                                              Respectfully Submitted,

For Plaintiffs Nazario and Castrejon:         For Plaintiffs Mercado, Gomez and Rodriguez:

/s/ Abby Bakos                                /s/ Melinda Power
Abby Bakos                                    Melinda Power

/s/ Brendan Shiller                           /s/ Sandeep Basran
Brendan Shiller                               Sandeep Basran

/s/ Stephen Berrios
Stephen Berrios

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